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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


DAHL AUTOMOTIVE ONALASKA, INC.,
et al.,                                                              Case No. 20-cv-932-jdp
                   Plaintiffs,
v.

FORD MOTOR COMPANY, DBA
LINCOLN MOTOR COMPANY
                   Defendant.


                  PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT


       Plaintiffs move the Court, the Honorable James D. Peterson presiding, for summary

judgment pursuant to Fed. R. Civ. P 56 on the first four claims of their First Amended Complaint

(Dkt. 23.); summary judgment on the fifth claim of their First Amended Complaint or, in the

alternative, summary judgment on the sixth claim of their proposed Second Amended

Complaint; and partial summary judgment on the sixth claim of their First Amended Complaint

(Dkt. 31-1.), or, in the alternative, summary judgment on the eighth claim of their proposed

Second Amended Complaint. The motion is based on the file in this case and is supported by the

declarations, the brief, and the proposed findings of fact that accompany it.

       Dated: November 11, 2021               BOARDMAN & CLARK LLP
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